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                              THE CHANCERY COURT
                           DAVIDSON COUNTY, TENNESSEE
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                  HONORABLE ELLEN HOBBS LYLE, CHANCELLOR
                                                                                     AUG 2 2 2018
                                                                                Clerk of the Appellate Courts
                        MARIA M. SALAS, CLERK AND MASTER                    1
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                           ABU-ALI-ABDUR'RAHMAN, ET AL
                                     Plaintiffs/Appellants
                                                                 VOLUME 19 of 28

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                                       August 21, 2018

   TONY PARKER, IN HIS OFFICIAL CAPACITY AS TENNESSEE COMMISSIONER OF
                             CORRECTION, ET AL
                                    Defendants/Appellees



                           Trial Transcript from July 17, 2018
                                    Pages 1678 - 1828


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   1      A.         I have.        And in the ICU and on the

   2      wards.

   3      Q.         Is that a drug that is,                in fact,

   4      frequently used in surgical settings?

   5      A.         It is.

   6      Q.         Does it have a useful purpose?

   7      A.         It does.

   8      Q.         What does it do?

   9      A.         It raises your potassium levels in

  10      your body.         Any disorder of potassium balance

  11      can lead to abnormal heart rates.
  12      Q.         What would be the experience of an

  13      inmate who was administered Potassium

  14      Chloride under the Tennessee lethal injection

 15      protocol if that inmate was not in a state of
  16     general anesthesia?
 17      A.          It would be akin to being burnt alive
 18       in that amount,           in my opinion.            Even small
 19      doses accidentally given too fast will cause

 20      a patient to scream out in pain.
 21      Q.          Is that supported in the literature?
 22      A.          It is.       We tend to limit the infusion
 23      rates to no more than about half an

 24      equivalent per kilo per hour.                      And what that

 25      means is that in general you get about half a


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   1      million in a minute.               And any more than that
   2      causes pain.          And, you know,           like I said, the
   3      injection in an IV push causes pain and
   4      someone is screaming.                And it's a very
   5      serious event.
   6      Q.         Now, Dr. Lubarsky, you're good at
   7      using analogies and things like that.
   8                 When you say that someone would feel
   9      like they're being burned alive, are you
  10      exaggerating?
  11     A.          No.
  12      Q.         Why would it feel like being burned
  13      alive?
  14     A.          First of all, it's a very caustic
  15      chemical.        One of the reasons it's so caustic
  16      is it not only               it basically causes all
 17      your cell membranes to go crazy.                        It sends
 18      serious pains throughout.                   And it is an
 19      extremely painful thing.                   It's like every
 20      nerve fiber in your body along the path and
 21      the trail of that potassium chloride would be
 22      delivered.
 23      Q.         Now you're aware that Plaintiffs'
 24      expert, Dr. Evans, equates the pain and
 25      suffering from the administration of


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   1      Potassium Chloride and Vecuronium Bromide to

   2      cardioversion?

   3     A.          Yes.      I read that.

   4      Q.         Is cardioversion the same as the

   5      administration of Potassium Chloride?

   6     A.          In no way,       shape or form.
   7      Q.         What is cardioversion?

   8     A.          Cardioversion is the delivery of an
   9      electric shock.            It's able to change a heart

  10      rhythm to a -- that's abnormal to a more
  11     normal heart rate.

  12     Q.          How long does it last?
  13     A.          Less than a quarter of a second.
  14     Q.         Are cardioversion given in emergency
  15     settings and nonemergency settings?
  16     A.         They are.
  17     Q.          If cardioversion 1s delivered in a

 18      nonemergency setting,               is the patient given

 19      something to help relieve the pain?
 20      A.         Yes.      They are routinely given a
 21      little bit of pain medicine and a general

 22      anesthetic dose of a real general anesthetic,
 23      like Propofol.
 24      Q.         In an emergency setting, obviously,
 25      it's an emergency.              So you need to get to the


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   1      hospital.
   2      A.         Right.       And I'll point out that in the
   3      emergency setting there is some sedation
   4      present, because usually the emergency
   5      attends shock.            So they have lower blood
   6      pressure.        So they're not really processing
   7      everything exactly.
   8                 So yes.       But in that case, it is
   9      painful and very well remembered by people.
  10      Q.         But the two are not equipped?
  11     A.          They are not equipped at all.
  12      Q.         Are you familiar with the testimony
  13      from Defendants' expert, Dr. Li, that the
  14      administration of potassium might burn a
  15      little on injection but it really isn't all
  16      that painful?
 17      A.          Again, I've seen Potassium Chloride
 18       injected and being completely --
 19                          MR. SUTHERLAND:            Excuse me, Dr.
 20      Lubarsky.
 21                          Dr. Li and Dr. Evans haven't
 22      testified yet.            We're getting into rebuttal
 23      in the case in chief.                And so I object.
 24                          THE COURT:         The Court overrules
 25      the objection.            I don't know this witness'

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   1      availability.           I don't know if they can come
   2      back.      And the Court has made a good note of
   3      how it was set up.              And I will hear Dr. Li's
   4      testimony and the other witness's testimony
   5      and I will be able to judge if the question
   6      fairly represents how they're going to
   7      testify.
   8                         MR. SUTHERLAND:             Thank you.
   9                         THE COURT:          Go ahead.
  10      BY MS. HENRY:
  11      Q.         You're familiar with the testimony and
  12      I want to ask you:              Does potassium burn a
  13      little bit upon administration?
  14     A.          No.     It burns a tremendous amount.
  15      It's one of the most painful drugs you can
 16       administer if you're wrong.                    I don't know of
 17       any other drug, to be quite honest, that 1s
 18      more painful than the administration of
 19       Potassium Chloride.
 20      Q.          Would the administration of Potassium
 21      Chloride to an inmate under the Tennessee
 22      lethal injection protocol that has been
 23      administered a 500-milligram bolus of
 24      Midazolam, could that Potassium Chloride be a
 25      noxious stimuli that would rouse the inmate


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   1      into awareness?
   2     A.          I would actually expect that to
   3      happen.
   4      Q.         That's to a reasonable degree of
   5      medical certainty?
   6     A.          That is to a reasonable degree of
   7      medical certainty.
   8                         MS. HENRY:         Your Honor, I want to
   9      let you know that I'm about to move into
  10      another area and would it be possible for us
  11      to have a morning break since we didn't take
  12      one this morning and then come back?
  13                         THE COURT:         You mean before
  14      lunch?
  15                         MS. HENRY:         I meant go to lunch
  16     and then come back.
  17                         THE COURT:         Sure.      That will be
 18       fine.      We'll do that and come back at one
 19      o'clock.
 20                          (Lunch recess was taken.)
 21                          THE COURT:         All right.         We'll
 22      resume the examination of Dr. Lubarsky.
 23                          If you would come forward,
 24      please, come to the witness stand.
 25                         MS. HENRY:          Thank you, Your

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